                  Case 3:23-cr-00190-VC Document 1 Filed 06/22/23 Page 1 of 10




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   Attorney for the United States
 2 Acting under Authority Conferred by 28 U.S.C. § 515
                                                                                 FILED
 3                                                                                  Jun 22 2023
 4                                                                             Mark B. Busby
 5                                                                       CLERK, U.S. DISTRICT COURT
                                                                      NORTHERN DISTRICT OF CALIFORNIA
 6                                                                            SAN FRANCISCO
 7

 8                                    UNITED STATES DISTRICT COURT

 9                                  NORTHERN DISTRICT OF CALIFORNIA

10                                         SAN FRANCISCO DIVISION

11   UNITED STATES OF AMERICA,                            )   CASE NO. 3:23-cr-00190 VC
                                                          )
12           Plaintiff,                                   )   VIOLATIONS:
                                                          )
13      v.                                                )   18 U.S.C. § 1343 – Wire Fraud;
                                                          )   26 U.S.C. § 7206(2) – Aiding or Assisting in the
14   WILLIAM KOO ICHIOKA,                                 )   Preparation of a False or Fraudulent Tax Return;
                                                          )   15 U.S.C. §§ 78j(b), 78ff; 17 C.F.R. § 240.10b-5 –
15           Defendant.                                   )   Fraud in Connection with Purchase and Sale of
                                                          )   Securities;
16                                                        )   18 U.S.C. § 1348 – Commodities Fraud;
                                                          )   18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c) –
17                                                        )   Forfeiture Allegations
                                                          )
18                                                        )   SAN FRANCISCO VENUE
                                                          )
19                                                        )
                                                          )
20

21                                             INFORMATION
22 The Attorney for the United States charges:

23                                            Introductory Allegations
24           At all times relevant to this Information:
25           1.      Beginning in or about 2011, William Koo ICHIOKA resided in San Francisco,
26 California, attending the University of San Francisco and graduating in May 2015 with a degree in

27 business administration.

28           2.      In or about 2016, ICHIOKA began working as an agent for a financial services company


     INFORMATION                                              1
                 Case 3:23-cr-00190-VC Document 1 Filed 06/22/23 Page 2 of 10




 1 in San Francisco, a role involving the sales of life insurance. Beginning in or about the same year,

 2 ICHIOKA also separately began to solicit and accept funds from prospective investors as an individual.

 3 ICHIOKA identified himself as a self-employed investor and financial advisor that had been investing in

 4 stocks, real estate, start-ups and that he was already a multimillionaire at the age of 23, according to a

 5 May 12, 2016 article from the student newspaper of University of San Francisco entitled Alumnus Gives

 6 Current USF Students Financial Advice.

 7          3.      ICHIOKA resided in the Northern District of California through and until in or about

 8 2020, when he moved to and resided in New York, New York.

 9          4.      Numerous of ICHIOKA’s investors resided in the Northern District of California, such as

10 Investor-1, Investor-2, and Investor-3 in or around San Francisco, California.

11                                     The Scheme and Artifice to Defraud

12          As part of the scheme to defraud:

13          5.      Beginning no later than in or about 2018, through at least in or about May 2022,

14 ICHIOKA operated a scheme to defraud in which he fraudulently raised tens of millions of dollars from

15 over 100 persons and entities, including residents of the Northern District of California.

16          6.      As a part of the scheme to defraud, ICHIOKA falsely represented to prospective investors

17 that he would invest their money in various securities and/or commodities, including digital assets such

18 as cryptocurrencies, to induce their investments. In truth and in fact, and as ICHIOKA well knew,
19 ICHIOKA did not invest significant portions of the investor funds entrusted to him. Instead of using

20 investors’ funds as promised, ICHIOKA commingled investor money with his own funds and embezzled

21 investor money to fund his own personal expenses (such as rent for his personal residence, restaurants

22 and bars, grocery stores, taxi or car share rides, retail stores, gym membership fees, and online

23 purchases, among other things) and to make purchases of luxury items (such as watches and other

24 jewelry, and luxury vehicles).

25          7.      As a further part of the scheme to defraud, ICHIOKA falsely represented to prospective

26 investors that their investments would earn 10% returns every 30 business days (or approximately 42

27 calendar days) to induce their investments, and that ICHIOKA’s investment and trading activities had

28 actually been generating and/or had the ability to generate returns in excess of these amounts.


     INFORMATION                                          2
                  Case 3:23-cr-00190-VC Document 1 Filed 06/22/23 Page 3 of 10




 1          8.       As a further part of the scheme to defraud, in or about 2019, ICHIOKA began doing

 2 business under the name “Ichioka Ventures,” creating various business entities including ICHIOKA

 3 VENTURES LLC, a Delaware limited liability company formed on or about August 21, 2019. That

 4 year, ICHIOKA also created a website for Ichioka Ventures at “www.ichiokaventures.com” available

 5 for prospective and current investors which stated, among other things:

 6                   a.     “Ichioka Ventures was founded by William Ichioka, a self-made investor … who

 7                   has already amassed a multimillion-dollar fortune.”

 8                   b.     Ichioka “seeks to deliver a consistent enhanced total return through his ability to

 9                   identify and execute immediately on global market opportunities.”

10                   c.     “Ichioka Ventures is a direct extension of William’s vision and strategy for

11                   maximizing growth. The fund provides accessibility and exposure to his personal

12                   avenues of capital generation.”

13                   d.     “The investment term is 30 business days with a 10% return.”

14                   e.     “Principal and profits are distributed directly to account balance and can easily be

15                   withdrawn or reinvested.”

16          9.       The Ichioka Ventures website further allowed investors to create and login to accounts to

17 “Invest,” “Re Invest/Withdraw”, view balances (“TOTAL BALANCE”, “TOTAL INVESTMENT”, and

18 “TOTAL PROFIT”), view “Active Investment,” view “Transaction History,” among other things.
19 ICHIOKA solicited investors to invest using the Ichioka Ventures website with these and other

20 misrepresentations, including promises that their funds would be invested in various securities and/or

21 commodities, including cryptocurrency, and cryptocurrency arbitrage, futures, and derivatives, and

22 foreign exchange currency transactions (“forex”).

23          10.      As a further part of the scheme to defraud, in certain circumstances ICHIOKA presented

24 investment contracts, including styled as a “Promissory Note,” in which investors agreed to entrust

25 funds to him and/or Ichioka Ventures. These contracts constituted securities under the provisions of

26 Title 15, United States Code, Section 78j(b) and Title 17, Code of Federal Regulations, Section 240.10b-

27 5.

28          11.      In truth and in fact, and as ICHIOKA well knew, ICHIOKA and Ichioka Ventures did not


     INFORMATION                                          3
                  Case 3:23-cr-00190-VC Document 1 Filed 06/22/23 Page 4 of 10




 1 actually earn 10% returns every 30 business days for its investors. Rather, he and Ichioka Ventures

 2 sustained losses from portions of funds that he did invest. For instance, ICHIOKA privately

 3 acknowledged at the end of 2019—unbeknownst to investors—that the “[c]ompany hasn’t made any

 4 money since we started.” ICHIOKA never told investors this fact.

 5          12.      ICHIOKA also concealed and hid, and caused to be concealed and hidden, the acts done

 6 and the purpose of the acts done in furtherance of the scheme, including to further perpetuate the

 7 scheme. These concealments included, but were not limited to:

 8                   a.     ICHIOKA doctored, and/or caused to be doctored, financial documents to falsely

 9                   overstate the value of assets, including bank, brokerage, and cryptocurrency exchange

10                   materials. For example, in or about November 2019, ICHIOKA falsified a purported

11                   “proof of funds” letter and screenshot indicating the value of his holdings with the

12                   cryptocurrency exchange Kraken to be approximately 1200 Bitcoin (BTC) (valued at

13                   approximately $10.8 million) and a balance of $500,000 U.S. dollars, when in fact

14                   ICHIOKA’s holdings with that exchange did not exceed approximately 18 BTC (valued

15                   at approximately $150,000) and/or a balance of approximately $100,000 U.S. dollars.

16                   b.     ICHIOKA provided doctored documents showing falsely overstated values of

17                   assets to prospective investors, including Investor-1 and Investor-3. For example, on or

18                   about October 11, 2019, ICHIOKA emailed a falsified Bank of America statement for

19                   account ending -3360 to Investor-1 showing a purported balance of approximately $1.5

20                   million (when in fact the account’s balance during this time did not exceed $200,000).

21                   As an additional example, on or about February 12, 2020, ICHIOKA provided a doctored

22                   Kraken screenshot via text messaging prior to receiving Investor-3’s investment funds.

23                   c.     ICHIOKA presented fabricated statements of account to investors, including via

24                   investor account updates on the Ichioka Ventures website, divorced from the actual

25                   performance or value of invested funds with ICHIOKA. ICHIOKA later acknowledged

26                   in November 2021 that, unbeknownst to investors, the website was merely “cosmetic.”

27                   d.     ICHIOKA fabricated, and/or caused to be fabricated, one or more “fake

28                   documents” for investors with Ichioka Ventures showing a falsely overstated “proof of


     INFORMATION                                          4
                 Case 3:23-cr-00190-VC Document 1 Filed 06/22/23 Page 5 of 10




 1                  funds” with Ichioka Ventures, including in or about January 2020.

 2                  e.     ICHIOKA repaid existing investors’ principal amounts and/or purported gains

 3                  (“profits”) using new investor funds.

 4                  f.     ICHIOKA failed to provide any tax documentation to investors (that would

 5                  reflect, for example, any capital gains or interest income).

 6                  g.     ICHIOKA willfully failed to report to the Internal Revenue Service income

 7                  ICHIOKA received from embezzling investor funds. For example, in tax years 2018 and

 8                  2019 the total loss from his unreported income during those years was greater than

 9                  $40,000.

10         13.      ICHIOKA transmitted and/or caused to be transmitted in interstate and foreign commerce

11 numerous wire communications for the purpose of executing the scheme to defraud, including but not

12 limited to the following wires:

13                  a.     $200,000 wire transfer on or about August 2, 2018, from Investor-1 via Fedwire

14                  Funds Transfer System to ICHIOKA’s J.P. Morgan Chase (“JPMC”) personal checking

15                  account ending in -2053, funds that ICHIOKA misdirected for personal expenses

16                  (including the purchase of a luxury vehicle, payment of rent, and credit card payments);

17                  b.     $150,000 wire transfer on or about June 12, 2019, from Investor-2 via Fedwire

18                  Funds Transfer System to ICHIOKA’s JPMC personal checking account ending in -2053,

19                  funds that ICHIOKA misdirected for personal expenses (including jewelry and credit

20                  card payments) and repayment of other investors;

21                  c.     $200,000 wire transfer on or about February 13, 2020, from Investor-3 via

22                  Fedwire Funds Transfer System to ICHIOKA’s Ichioka Ventures Bank of America

23                  account ending in -7517, following ICHIOKA’s transmittal of doctored financial

24                  documents overstating the value of ICHIOKA and/or Ichioka Ventures’ holdings.

25 //

26 //

27 //

28 //


     INFORMATION                                            5
                  Case 3:23-cr-00190-VC Document 1 Filed 06/22/23 Page 6 of 10




 1 COUNT ONE:               (18 U.S.C. § 1343 – Wire Fraud)

 2          14.      Paragraphs 1 through 13 of this Information are re-alleged and incorporated by reference.

 3          15.      Beginning in or about 2018 and continuing through at least on or about May 2022, both

 4 dates being approximate and inclusive, in the Northern District of California and elsewhere, the

 5 defendant,

 6                                          WILLIAM KOO ICHIOKA,

 7 knowingly and with the intent to defraud participated in, devised, and intended to devise a scheme and

 8 artifice to defraud as to a material matter, and to obtain money and property by means of materially false

 9 and fraudulent pretenses, representations, and promises, and by means of concealment of material facts

10 and omission of material facts with a duty to disclose.

11                                            Execution of the Scheme

12          16.      On or about the date set forth in the count below, in the Northern District of California

13 and elsewhere, for the purpose of executing the aforementioned scheme and artifice to defraud and

14 attempting to do so, the defendant,

15                                          WILLIAM KOO ICHIOKA,

16 did knowingly transmit and cause to be transmitted in interstate and foreign commerce, by means of a

17 wire communication, certain writings, signs, signals, pictures, and sounds, specifically:

18                  Count        Date                               Wiring
                      1        8/2/2018     $200,000 wire transfer from Investor-1 via Fedwire
19                                          Funds Transfer System to ICHIOKA’s JPMC personal
                                            checking account with account number ending in -
20                                          2053
21

22          All in violation of Title 18, United States Code, Section 1343.

23
     COUNT TWO:             (26 U.S.C. § 7206(2) – Aiding or Assisting in the Preparation of a False or
24                          Fraudulent Tax Return)

25          17.      Paragraphs 1 through 13 of this Information are re-alleged and incorporated by reference.

26          18.      In or about November 2021, in the Northern District of California and elsewhere, the

27 defendant,

28                                          WILLIAM KOO ICHIOKA,


     INFORMATION                                           6
                  Case 3:23-cr-00190-VC Document 1 Filed 06/22/23 Page 7 of 10




 1 did willfully aid and assist in the preparation and presentation to the Internal Revenue Service, of a U.S.

 2 Individual Income Tax Return, Form 1040, of ICHIOKA for the calendar year 2018. The return was

 3 false and fraudulent as to a material matter, in that it represented that ICHIOKA’s total income was

 4 - $3,000 (negative three thousand dollars), whereas, as ICHIOKA then and there knew, his total income

 5 was greater than - $3,000.

 6          In violation of Title 26, United States Code, Section 7206(2).

 7
     COUNT THREE:           (26 U.S.C. § 7206(2) – Aiding or Assisting in the Preparation of a False or
 8                          Fraudulent Tax Return)

 9          19.      Paragraphs 1 through 13 of this Information are re-alleged and incorporated by reference.

10          20.      In or about November 2021, in the Northern District of California and elsewhere, the

11 defendant,

12                                         WILLIAM KOO ICHIOKA,

13 did willfully aid and assist in the preparation and presentation to the Internal Revenue Service, of a U.S.

14 Individual Income Tax Return, Form 1040, of ICHIOKA for the calendar year 2019. The return was

15 false and fraudulent as to a material matter, in that it represented that ICHIOKA’s total income was

16 - $3,000 (negative three thousand dollars), whereas, as ICHIOKA then and there knew, his total income

17 was greater than - $3,000.

18          In violation of Title 26, United States Code, Section 7206(2).

19
     COUNT FOUR:            (15 U.S.C. §§ 78j(b), 78ff; 17 C.F.R. § 240.10b-5 – Fraud in Connection with
20                          Purchase and Sale of Securities)

21          21.      Paragraphs 1 through 13 of this Information are re-alleged and incorporated by reference.

22          22.      Beginning no later than in or about June 2019, and continuing through in or about May

23 2022, both dates being approximate and inclusive, in the Northern District of California and elsewhere,

24 the defendant,

25                                         WILLIAM KOO ICHIOKA,

26 did willfully and knowingly, directly and indirectly, by the use of means and instrumentalities of

27 interstate commerce, used and employed manipulative and deceptive devices and contrivances in

28 connection with the purchase and sale of securities of Ichioka Ventures, by (a) employing devices,


     INFORMATION                                         7
                  Case 3:23-cr-00190-VC Document 1 Filed 06/22/23 Page 8 of 10




 1 schemes, and artifices to defraud; (b) making untrue statements of material fact and omitting to state

 2 material facts necessary in order to make the statements made, in the light of the circumstances under

 3 which they were made, not misleading; and (c) engaging in acts, practices, and courses of business

 4 which operated and would operate as a fraud and deceit upon persons, specifically, the use of the above

 5 devices, schemes, and artifices to defraud, false statements and omissions of material facts, and acts of

 6 fraud and deceit.

 7          All in violation of Title 15 United States Code, Sections 78j(b) and 78ff; and 17 Code of Federal

 8 Regulations, Section 240.10b-5.

 9

10 COUNT FIVE:              (18 U.S.C. § 1348 – Commodities Fraud)

11          23.      Paragraphs 1 through 13 of this Information are re-alleged and incorporated by reference.

12          24.      Beginning no later than in or about June 2019, and continuing through in or about May

13 2022, both dates being approximate and inclusive, in the Northern District of California and elsewhere,

14 the defendant,

15                                          WILLIAM KOO ICHIOKA,

16 did knowingly and intentionally execute, and attempted to execute, (a) a scheme and artifice to defraud

17 persons in connection with a commodity for future delivery, specifically, cryptocurrency and other

18 digital assets such as Bitcoin, and (b) obtain, by means of materially false and fraudulent pretenses,
19 representations, and promises, and by statements containing material omissions, money and property, in

20 connection with the purchase and sale of a commodity for future delivery, specifically, cryptocurrency

21 and other digital assets such as Bitcoin.

22          All in violation of Title 18, United States Code, Section 1348.

23

24 FORFEITURE ALLEGATION:                   (18 U.S.C. §§ 981(a)(1) and 28 U.S.C. § 2461(c))

25          25.      The allegations contained in this Information are re-alleged and incorporated by reference

26 for the purpose of alleging forfeiture pursuant to Title 18, United States Code, Sections 981(a)(1) and

27 and Title 28, United States Code, Section 2461(c).

28          26.      Upon conviction for any of the offenses set forth in Counts One, Four, or Five of this


     INFORMATION                                          8
               Case 3:23-cr-00190-VC Document 1 Filed 06/22/23 Page 9 of 10




 1 Information, the defendant,

 2                                           WILLIAM KOO ICHIOKA,

 3 shall forfeit to the United States, pursuant to Title 18, United States Code, Section 981(a)(1)(C) and

 4 Title 28, United States Code, Section 2461(c), all property, real or personal, constituting, or derived

 5 from proceeds the defendant obtained directly and indirectly, as the result of those violations, including

 6 but not limited to a forfeiture money judgment and/or the following:

 7                 a.         all jewelry seized from 101 Warren Street, New York, New York 10007 on or

 8                 about November 9, 2021, including but not limited to:

 9                          i.   One white band Jacob & co. watch,

10                         ii.   One Rolex watch with black & blue bezel,

11                        iii.   One red band Patek Philippe watch,

12                         iv.   One black band Richard Mille watch,

13                         v.    One red band Richard Mille watch,

14                         vi.   One Rolex watch with blue and red bezel,

15                        vii.   One Rolex watch, submarine green,

16                       viii.   One clear stone tennis bracelet,

17                         ix.   One Rolex Yacht-Master watch,

18                         x.    One Rolex watch with brown and yellow bezel,

19                         xi.   One Rolex watch Sky-Dweller,

20                        xii.   One White Richard Mille watch,

21                       xiii.   One diamond-type finished Jacob & Co. watch with 5 extra links,

22                       xiv.    One Rolex watch, Oyster Perpetual,

23                        xv.    One blue band Richard Mille watch,

24                       xvi.    One Rolex watch with gold-colored band,

25                      xvii.    One Patele Philippe watch with blue bezel,

26                      xviii.   One Rolex Submariner,

27                       xix.    One Patele Philippe watch with diamond-like finish,

28                        xx.    One Rolex watch with green bezel,


     INFORMATION                                           9
               Case 3:23-cr-00190-VC Document 1 Filed 06/22/23 Page 10 of 10




 1                       xxi.    One Rolex Milgauss watch,

 2                       xxii.   One Rolex Daytona watch,

 3                  b.       any and all digital assets located in wallet(s) associated with ICHIOKA and/or

 4                  Ichioka Ventures, including virtual currencies and cryptocurrencies located in wallets

 5                  associated with Binance account(s) 38893886 and/or associated with email address

 6                  mbichiokaventures@gmail.com.

 7          27.     If any of the property described above, as a result of any act or omission of the defendant:

 8                  a.       cannot be located upon exercise of due diligence;

 9                  b.       has been transferred or sold to, or deposited with, a third party;

10                  c.       has been placed beyond the jurisdiction of the court;

11                  d.       has been substantially diminished in value; or

12                  e.       has been commingled with other property which cannot be divided without

13                           difficulty,

14 the United States of America shall be entitled to forfeiture of substitute property pursuant to Title 21,

15 United States Code, Section 853(p), as incorporated by Title 28, United States Code, Section 2461(c).

16          All pursuant to Title 18, United States Code, Section 981(a)(1)(C), Title 28, United States Code,

17 Section 2461(c), and Federal Rule of Criminal Procedure 32.2.

18
19 DATED: June 22, 2023                             THOMAS A. COLTHURST
                                                    Attorney for the United States
20                                                  Acting Under Authority Conferred by 28 U.S.C. § 515

21

22                                                         /s/
                                                    ERIC CHENG
23                                                  BENJAMIN KINGSLEY
                                                    Assistant United States Attorneys
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     INFORMATION                                           10
